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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION

 IN RE:                                    )        Chapter 11
                                           )
 EASTERN LIVESTOCK CO., LLC,               )        Case No. 10-93904-BHL-11
                                           )
                   Debtor.                 )        Hon. Basil H. Lorch III

 SUPERIOR LIVESTOCK AUCTION, INC.,         )
       Plaintiff,                          )
               v.                          )        Adversary Proceeding No. 11-59088
 EASTERN LIVESTOCK CO., LLC,               )
       Defendant.                          )
 JAMES KNAUER, AS CHAPTER 11               )
 TRUSTEE FOR DEBTOR EASTERN                )
 LIVESTOCK CO., LLC,                       )
       Counterclaimant and Third-Party     )
       Plaintiff,                          )
               v.                          )
 SUPERIOR LIVESTOCK AUCTION, INC.,         )
 FIFTH THIRD BANK,                         )
 FRIONA INDUSTRIES, L.P.,                  )
 CACTUS GROWERS, INC., and                 )
 J&F OKLAHOMA HOLDINGS, INC.,              )
       Counterclaim and /or Third-Party    )
       Defendants.                         )

 FRIONA INDUSTRIES, L.P.,                  )
        Plaintiff,                         )
                 v.                        )        Adversary Proceeding No. 11-59093
 EASTERN LIVESTOCK CO., LLC, et. al.,      )
        Defendants,                        )
                 and                       )
 CACTUS GROWERS, INC.,                     )
        Intervenor,                        )
                 v.                        )
 EASTERN LIVESTOCK CO., INC., et. al.,     )
        Defendants,                        )
                 and                       )
 J & F OKLAHOMA HOLDINGS, INC.,            )
        Intervenor,                        )
                 v.                        )
 EASTERN LIVESTOCK CO., et. al.,           )
        Defendants.                        )
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              NOTICE OF VIDEOTAPED DEPOSITION OF MONA WAHLERT
                          AND SUBPOENA DUCES TECUM

        TO:     MONA WAHLERT
                Superior Livestock Auction, Inc.
                1155 North Colorado
                Brush, CO 80723

                c/o Christie A. Moore
                Bingham Greenebaum Doll
                101 S. Fifth Street, 3500 National City Tower
                Louisville, KY 40202
                Counsel for Superior Livestock


                PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules

 of Civil Procedure, made applicable in the above-captioned adversary proceedings by

 Rules 7030 and 9016 of the Federal Rules of Bankruptcy Procedure, James A. Knauer,

 Chapter 11 Trustee of Eastern Livestock, Co., LLC, by and through the undersigned attorneys,

 will take the oral deposition of MONA WAHLERT on August 9 and 10, 2012, at 9:00 a.m.,

 local time, at the office of Bingham Greenebaum Doll, 101 S. Fifth Street, 3500 National

 City Tower, Louisville, Kentucky 40202. The deposition will be conducted before a notary

 public or other officer permitted by law to administer oaths and will be recorded by audiovisual

 and stenographic means.

                The witness and her counsel shall bring to the deposition each of the following

 things and make them available for inspection and copying during the deposition:

                   1. Each original document titled Assignment of Livestock Contracts
                      bearing the signature of Thomas P. Gibson, including all
                      attachments, cover pages, cover letters, and other documents
                      accompanying, transmitted with, or affixed to the original.

                   2. Each original document titled Assignment of Livestock Contracts
                      bearing the signature of James Odle including all attachments,
                      cover pages, cover letters, and other documents accompanying,
                      transmitted with, or affixed to the original.



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                The undersigned counsel has not made arrangements for participating by phone.

 Any counsel wishing to attend by phone must make all necessary arrangements with Bingham

 Greenebaum Doll. Those participating by phone do so at their own risk, as the deposition will

 not be postponed or delayed if phone problems should occur.

                The deposition will be taken for the purpose of discovery, for use at hearings and

 trials, and for all other uses permitted by the Federal Rules of Civil Procedure, Federal Rules of

 Evidence, and the Federal Rules of Bankruptcy Procedure. You are invited to attend and cross-

 examine.



                                               FAEGRE BAKER DANIELS LLP


                                                By:    /s/ Kevin M. Toner

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                                 CERTIFICATE OF SERVICE

                The undersigned attorney hereby certifies that on July 2, 2012, a copy of the

 foregoing was served electronically on the following counsel at the addresses listed below:

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 Christie A. Moore, Bingham Greenbaum Doll
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                The undersigned attorney further certifies that on July 2, 2012, a copy of the

 foregoing was served electronically via the Court's ECF system on the following counsel at the

 addresses listed below:

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